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                                  6    RICKY L. APPIN

                                  7                              IN THE UNITED STATES DISTRICT COURT
                                  8                          THE NORTHERN DISTRICT OF CALIFORNIA
                                  9

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                                       RICKY L. APPIN,                               Case No. 4:23-cv-03372-HSG
                                  11
SAN FRANCISCO, CALIFORNIA 94111




                                                      Plaintiff,
                                  12
                                                                                     PROOF OF SERVICE OF SUMMONS
                                  13   v.
       NICHOLS LAW, P.C.
       9 PIER, SUITE 100




                                  14   MERGERMARKET (U.S.) LTD., a New York
                                       Corporation ION TRADING, INC., a New
                                  15
                                       York Corporation, ACURIS INC., a Delaware
                                  16   Corporation and DOES 1-10,

                                  17                  Defendants.

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                                                                       PROOF OF SERVICE OF SUMMONS
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